Case: 2:22-cv-04266-ALM-EPD Doc #: 26-2 Filed: 06/23/23 Page: 1 of 3 PA®

AFFIDAVIT OF STACIE L. ROTH

I, Stacie L. Roth, of full age, after being duly sworn according to law, depose and say the

following:

1.

I am fully competent to make this affidavit and have personal knowledge of the facts stated
herein.
I am counsel of record for those Plaintiffs listed in the caption of the Motion to Conduct
Limited Discovery.
Plaintiffs have sought in their Complaint, a declaratory judgment action requesting this Court
declare the arbitration provision in Sunlight Financial, LLC d/b/a Sunlight Financial’s
(“Sunlight”) loan agreement invalid and unenforceable.
We will be filing a Memorandum in Opposition to Sunlight’s Motion to Enforce Arbitration
and dismiss the Complaint and in so doing, I will assert that the evidence presented thus far
demonstrates:
A. that there was never a meeting of the minds between Plaintiffs and Sunlight; and
B. Sunlight’s arbitration provision is substantively unconscionable and the facts and
circumstances of how my clients’ signatures were obtained was procedurally
unconscionable.
While Plaintiffs will present affidavits and other evidence in support of their Memorandum
in Opposition, there is still discovery that Plaintiffs need to further support their request to
declare the arbitration provision invalid and unenforceable.
The evidence that Plaintiffs need to obtain is in the sole control of Sunlight and cannot have
been obtained by Plaintiffs without utilizing the discovery tools available to them under Fed.

R. Civ. P. 26.
Case: 2:22-cv-04266-ALM-EPD Doc #: 26-2 Filed: 06/23/23 Page: 2 of 3 PAGEID #: 364

7. If permitted, Plaintiffs will seek, among other things, the following, limited discovery from
Sunlight:

A. Deposition of the salesperson/Sunlight agent who had the Plaintiffs sign the Sunlight
loan agreement at issue in this matter;

B. Deposition of Sunlight’s corporate representative, pursuant to Fed. R. Civ. P. 30(b)(6),
that is knowledgeable about the relationship between Sunlight and Pink Energy as
well as the sales practices utilized by Sunlight when securing lending for a customer,
including but not limited to the following:

i. Documents concerning the sales practices and training for Sunlight’s agents
who engage with customers, including Plaintiffs;

ii. The manner in which a Sunlight agent has a customer fill out and sign a loan
agreement;

ii. The training Sunlight provided to its agents regarding the terms of the loan
agreement, including the arbitration provision, and the agent’s explanation of
such terms to customers, including Plaintiffs.; and

iv. The training involved for Sunlight’s agents to understand and explain the
terms of the loan agreement, including its arbitration provision, to customers.

8. The evidence requested above should be completed in an expedited manner given its limited

scope.

FURTHER AFFIANT SAYETH NAUGHT.

Dated: Tune, 2023

Location: Canton, Ohio

Stacie L. Roth

Case: 2:22-cv-04266-ALM-EPD Doc #: 26-2 Filed: 06/23/23 Page: 3 of 3 PAGEID #: 365

STATE OF OHIO, COUNTY OF STARK, SS:

Sworn to before me and subscribed in my presence while located at Canton, Ohio,

this 7 3 day of June, 2023. A _
SF
Np Pai

